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10                               UNITED STATES DISTRICT COURT

11                            NORTHERN DISTRICT OF CALIFORNIA

12                                   SAN FRANCISCO DIVISION

13   IN RE: CATHODE RAY TUBE (CRT)                 Master File No. CV-07-5944-SC
     ANTITRUST LITIGATION
14                                                 MDL No. 1917

15                                                 REQUEST FOR JUDICIAL NOTICE IN
                                                   SUPPORT OF MOTION OF INDIRECT-
16   This Document Relates to:                     PURCHASER PLAINTIFFS FOR CLASS
                                                   CERTIFICATION
17   ALL INDIRECT PURCHASER ACTIONS
                                                   Date: TBD
18                                                 Time: TBD
                                                   Before: Hon. Charles A. Legge (Ret.)
19                                                         Special Master

20                                                 The Honorable Samuel Conti

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     ______________________________________________________________________________________________
      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION OF INDIRECT-PURCHASER PLAINTIFFS
                FOR CLASS CERTIFICATION – MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
             Case 4:07-cv-05944-JST Document 1385 Filed 10/01/12 Page 2 of 4




 1             Plaintiffs respectfully request that this Court take judicial notice of the documents attached

 2   to this request as Exhibits 1 through 22. Plaintiffs make this request pursuant to Federal Rule of

 3   Evidence 201.

 4             Judicial notice of these documents is proper. “Judicial notice may be taken of documents

 5   filed and orders or decisions entered in any federal or state court[]” because they are not

 6   susceptible to reasonable dispute. See Jones & Rosen, Rutter Group Practice Guide, Federal Civil

 7   Trials and Evidence, at ¶8:875, p. 8D-9 (2000). This includes records filed previously in the

 8   current litigation as well as in other proceedings. See United States v. Borneo, Inc., 971 F.2d 244,

 9   248 (9th Cir. 1992) (a federal court “may take notice of proceedings in other courts, both within

10   and without the federal judicial system, if those proceedings have a direct relation to matters at

11   issue.”).

12             Plaintiffs respectfully request that this Court take judicial notice of the following

13   documents:

14             Exhibit 1: A true and correct copy of the June 30, 2004 Order in Ferrell v. Wyeth-Ayerst

15   Labs., No. C-1-01-447, Order (S.D. Ohio).

16             Exhibit 2: A true and correct copy of the Feb. 2, 2005 Order in Ferrell v. Wyeth-Ayerst

17   Labs., No. C-1-01-447, Order (S.D. Ohio).

18             Exhibit 3: A true and correct copy of the Nov. 14, 2000 Order in Friedman v. Microsoft

19   Corp., No. CV 2000-000722 (Ariz. Super. Ct., Maricopa Cty.).

20             Exhibit 4: A true and correct copy of the May 1, 1997 “Order Granting Motion For Motion

21   For Class Certification” in Aguilar v. Atlantic Richfield Corp., 1998-1 Trade Cas. (CCH) ¶72,080

22   (Cal. Super. Ct., San Diego Cty.).

23             Exhibit 5: A true and correct copy of the June 17, 2004 “Order Granting Motion of

24   Plaintiffs For Class Certification” in In re Automotive Refinishing Paint Cases, No. J.C.C.P. 4199

25   (Cal. Super. Ct., Alameda Cty.).

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           REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION OF INDIRECT-PURCHASER PLAINTIFFS
                   FOR CLASS CERTIFICATION – MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
          Case 4:07-cv-05944-JST Document 1385 Filed 10/01/12 Page 3 of 4




 1          Exhibit 6: A true and correct copy of the March 27, 2007 “Order Granting Plaintiffs’

 2   Motion for Class Certification” in In re Reformulated Gasoline (RFG) Antitrust & Patent Litig.,

 3   No. CV-05-01671 (VBKx) (C.D. Cal.).

 4          Exhibit 7: A true and correct copy of the June 29, 2000 “Order Re Class Certification” in

 5   Kristensen v. Great Spring Waters of America, No. 302774 (Cal. Super. Ct., San Francisco Cty.).

 6          Exhibit 8: A true and correct copy of Lethbridge v. Johnson & Johnson, No. B105754

 7   (Cal. Ct. App. Nov. 10, 1997).

 8          Exhibit 9: A true and correct copy of the Aug. 29, 2000 “Order Re Class Certification” in

 9   Microsoft I-V Cases, 2000-2 Trade Cas. (CCH) ¶73,013 (Cal. Super. Ct., San Francisco Cty.).

10          Exhibit 10: True and correct copies of the Orders of June 26 & Aug. 16, 1995 in

11   Pharmaceutical Cases I, II, and III, J.C.C.P. Nos. 2969, 2971 & 2972 (Cal. Super. Ct., San

12   Francisco Cty.).

13          Exhibit 11: A true and correct copy of the Jan. 29, 2004 “Order Granting Motion For Class

14   Certification” in Smokeless Tobacco Cases I-V, J.C.C.P. Nos. 4250, 4258, 4259 & 4262 (Cal.

15   Super. Ct.).

16          Exhibit 12: A true and correct copy of the “Ruling on Plaintiff’s Motion for Class

17   Certification” (March 19, 2007) in Anderson Contr., Inc. v. Bayer AG, No. CL 95959 (Iowa Dist.

18   Ct., Polk Cty.).

19          Exhibit 13: A true and correct copy of the Nov. 3, 1995 “Order Of Class Certification” in

20   Donelan v. Abbott Labs., Inc., No. 94-C-709 (Kan. Dist. Ct.).

21          Exhibit 14: A true and correct copy of the “Memorandum Decision And Journal Entry On

22   Plaintiffs’ Motion For Class Certification” (May 4, 2004) in Premier Pork, Inc. v. Rhone Poulenc,

23   S.A., No. 00 C 3 (Kansas Dist. Ct.).

24          Exhibit 15: A true and correct copy of the “Journal Entry Of Decision By The Court Upon

25   Plaintiffs’ Motion For Class Certification” (Nov. 16, 2001) in Smith v. Philip Morris Cos., Inc.,

26   No. 00-CV-26 (Kan. Dist. Ct.).

27          Exhibit 16: A true and correct copy of the “Journal Entry” (Mar. 10, 2006) in Todd v. F.

28   Hoffman-La Roche, Ltd., No. 98-C-4574 (Kan. Dist. Ct.).
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       REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION OF INDIRECT-PURCHASER PLAINTIFFS
               FOR CLASS CERTIFICATION – MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
         Case 4:07-cv-05944-JST Document 1385 Filed 10/01/12 Page 4 of 4




 1          Exhibit 17: True and correct copies of the “Decision And Order On Motion For Class

 2   Certification” (Oct. 2, 2002) in In re New Mexico Indirect Purchasers Microsoft Antitrust Litig.,

 3   No. D-0101-CV-2000 (1st Judicial Dist.).

 4          Exhibit 18: A true and correct copy of the Nov. 21, 1995 “Order Granting Class

 5   Certification” in Hagemann v. Abbott Labs., Inc., No. 94-221 (S.D. Cir. Ct., Hughes Cty.).

 6          Exhibit 19: A true and correct copy of the Dec. 20, 2002 “Memorandum and Order” in

 7   Sherwood v. Microsoft Corp., No. 99C-5362 (Tenn. Cir. Ct., Davidson Cty.).

 8          Exhibit 20: A true and correct copy of the July 25, 2001 “Order Certifying Class Action”

 9   in Capp v. Microsoft Corp., No. 00 CV 0637 (Wis. Cir. Ct., Dane Cty.).

10          Exhibit 21: A true and correct copy of the Mar. 23, 1995 Order in Carlson v. Abbott Labs.,

11   Inc., No. 94-CV-002608 (Wis. Cir. Ct., Milwaukee Cty.).

12          Exhibit 22: True and correct copies of the “Decision And Order Granting Plaintiffs’

13   Motion For Class Certification” (May 10, 2004) in Feuerabend v. UST Corp., No. 2002 CV

14   007124 (Wis. Cir. Ct., Milwaukee Cty.).

15   DATED: October 1, 2012                       Respectfully submitted,

16                                                       /s/ Mario N. Alioto
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       REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION OF INDIRECT-PURCHASER PLAINTIFFS
               FOR CLASS CERTIFICATION – MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
